Case 2:04-CV-02056-SHI\/|-tmp Document 48 Filed 08/31/05 Page 1 of 2 Page|D 72

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UNJ:TED s'rATEs DISTRICT coun'r ” D.C.
wEsTERN DISTRICT oF TENNESSE:E
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MILDRED MINNIS and AR.ACIA PARKER
on behalf of themselves and as
Representatives of a Class of all
others similarly situated,

Plaintiffs,
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CIT'Y' OF MEMPHIS, COU'NTY OF SHELBY,
STATE OF TEN'N'BSSEE, MEMPHIS HOUSING
AUTI'IORIT'Y, MIMIPHIS LIGHT, GAS &
WATER, SHELBY CO'(J'NTY ASSESSOR, SHELBY
COU'NTY TRUSTEE, and the STATE OF
TENNESSEE,

Defendants.

JUDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT rs oRDERED mo ADJUDGED that this action is dismissed
without prejudice, in accordance with the Consent Order of
Dismissal, docketed August 24, 2005. Costs are assessed to
Plaintiffs.

APPROVE]Z:A {/ C_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 48 in
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chcrable Samuel Mays
US DISTRICT COURT

